                                 Case 8:19-mc-00005-AG-DFM Document 32 Filed 11/01/18 Page 1 of 1 Page ID #:623


  UNITED STATES DISTRICT COURT                                                                   TRANSCRIPT ORDER                                                                            COURT USE ONLY
     DISTRICT OF MINNESOTA                                                 CJA counsel please complete an AUTH24 in CJA eVoucher                                                                  NOTES:
               (Rev. 03/2018)
                                                                                   Please read instructions on next page.

1a. CONTACT PERSON FOR THIS ORDER                                          2a. CONTACT PHONE NUMBER                                                3. CONTACT EMAIL ADDRESS
Ruvin S. Jayasuriya                                                        (612) 977-8423                                                          rjayasuriya@briggs.com

1b. ATTORNEY NAME (if different)                                           2b. ATTORNEY PHONE NUMBER                                               3. ATTORNEY EMAIL ADDRESS


4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                             5. CASE NAME (Include defendant number, for criminal cases        6. CASE NUMBER
Briggs and Morgan, P.A.                                                                               only)                                                             0:18-mc-00076
2200 IDS Center                                                                                       In re Banc of California Securities Litigation
80 S. Eighth Street
Minneapolis, MN 55402
                                                                                                      8. THIS TRANSCRIPT ORDER IS FOR (CHECK ALL THAT APPLY):              CJA: Do not use this form; use AUTH24 in CJA.
7. COURT REPORTER NAME, if applicable                                                                 ❐    APPEAL      ❐   CRIMINAL                      ❐ In forma pauperis (NOTE: Court order for TRANSCRIPTS must be
                                                                                                       NON-APPEAL      CIVIL                          attached)
                                                                                                                                                        ❐ Standing Order (MDL only)

9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                          b.             SELECT FORMAT(S)                             c.          DELIVERY TYPE
                                                                                          NOTE: ECF access is included.                            Delivery times are not guaranteed.

      DATE          JUDGE                       PORTION                           PDF         TEXT/ASCII       PAPER       CONDENSED    ORDINARY        14-Day      EXPEDITED    EXPEDITED        DAILY      HOURLY       REALTIME
                                   If requesting less than full hearing,        (email)         (email)                                 (30-day)                     (7-day)      (3-day)       (Next day)    (2 hrs)   (rough draft)
                    (initials)    specify portion (e.g. witness or time)

10/22/18        KMM                                                                                                                                                   




10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:                           The hearing was only audio recorded and we need a pdf of the transcribed hearing.



ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                  12. DATE
                                                                                                                                                                      November 1, 2018
11. SIGNATURE
s/Ruvin S. Jayasuriya
